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FILED
MUSTHICT COURT
IN THE UNITED STATES: piseter COURBS)

FOR THE DISTRICT OF MARYLAND
2021 UCI rit 43 Sls

United States of America teRK'S OFFICE

or BALTIE {ORE
Vv. * Criminal CaseNo. JKB-20-0195
OM DEP iy
KYELL BRYAN *
see RE

REGULAR SENTENCING ORDER

(1) On or before 11/29/2021 (not more than 40 days from the date of this order), the
Probation Officer shall provide the initial draft of the presentence report to counsel for the
Defendant for review with the Defendant. If the Defendant is in pretrial detention, defense
counsel may not provide a copy of the recommendations section of the presentence report to the
Defendant in advance of meeting to review the presentence report, and may not leave the
recommendations section of the presentence report with the Defendant once the review has taken
place. The Probation Officer shall also provide the initial draft of the presentence report to
counsel for the Government. |

(2) On or before 12/13/2021 (not tess than 14 days from date in paragraph 1), counsel shall
submit, in writing, to the Probation Officer and opposing counsel, any objections to any material
information, sentencing classifications, advisory sentencing guideline ranges, or policy
statements contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the
Probation Officer to itso unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

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made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting
forth those objections and any comment thereon.

(4) On or before 12/27/2021 (not less than 11 days from date in paragraph 2), the Probation
Officer shall file the report (and any revisions and addendum thereto) through CM/ECF.

(5) If counsel for either party intends to call any witnesses at the sentencing hearing,
counsel shall submit, in writing, to the Court and opposing counsel, on or before
1/17/2022 (not less than 14 days before sentencing), a statement containing (a) the names of the
witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated
length of the hearing.

(6) Sentencing memoranda are not required unless a party intends to request a
sentence outside the advisory guidelines range on the basis of a non-guideline factor. If
submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before
1/17/2022 (not less than 14 days before sentencing). Opposing or responding memoranda are not
required. If submitted, they shall be delivered to chambers on or before
1/24/2022 (not less than 7 days before sentencing). Copies of all memoranda must be sent to the
Probation Officer. Sentencing memoranda are not sealed documents. If the memoranda or
attachments contain sensitive material, they should be filed under seal and accompanied by a
motion to seal.

(7) If the Government intends to seek restitution, a memorandum requesting
restitution and all supporting documentation shall be filed on or before 1/17/2022 (not less than 14
days before sentencing). Failure to provide the restitution information or an explanation for why the

restitution information is not yet ascertainable by this date may result in an order to show cause

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why the information could not have been timely provided and may result in the Court denying or
delaying restitution until after a hearing not to exceed 90 days after sentencing.

(8) Sentencing shall be on 1/31/2022 at 10:00 AM.

(9) The presentence report, any revisions, and any proposed findings made by the
Probation Officer in the addendum to the report shall constitute the tentative findings of the
Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the
Court may consider any reliable information presented by the Probation Officer, the Defendant,
or the Government, and the Court may issue its own tentative or final findings at any time before
or during the sentencing hearing.

(10) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

October 19, 2021 J deme TA. Ph

Date James K, Bredar
United States District Judge

 

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